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UNITED STATES DISTRICT COURT

for the

Western District of Pennsylvania

Civil Action No. 3:20-cv-90

Highland Tank & Manufacturing
Company, Plaintiff,

VS.

ATEC, Inc., Defendant

NOTICE OF DISMISSAL

TO THE CLERK OF COURTS:
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)() kindly mark the within Civil

Action “Settled and Discontinued” and please dismiss the Civil Action with prejudice.

Date of signing: June 25, 2020

Signature of Attorney: s/Matthew M. Jacob

Printed Name of Attorney: Matthew M. Jacob

Bar Number: PAS6746

Name of Law Firm: Jacob Law Associates
Street Address: 429 4 Avenue, Suite 1203
City/State/Zip: Pittsburgh, PA 15219
Telephone Number: 412-261-6383

E-mail: jacoblaw@comeast.net

AND NOW, this “==
day of wave
iT iS SO ORDERED. \

UNITED STATES DISTRICT JUDGE
